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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

MICHAEL NOLAN
                            Plaintiff,

       vs.

WESTERN REGIONAL OFF TRACK BETTING                              Civil Action No.
CORPORATION, RICHARD D. BIANCHI,                                21-cv-00922-WMS
Individually and in his capacity as Chairman of the
WROTB Board of Directors, and HENRY WOJTASEZK,
Individually and in his capacity as President of WROTB,
                            Defendants.

___________________________________________




                       REPLY MEMORANDUM OF LAW
               IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




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                                PRELIMINARY STATEMENT
       Plaintiff Michael Nolan’s (“Nolan”) opposition confirms that his Complaint should be

dismissed in its entirety. Nolan concedes dismissal of his official-capacity constitutional claims

against Defendants Richard D. Bianchi (“Bianchi”) and Henry Wojtaszek (“Wojtaszek”) and his

Labor Law § 740 claim against defendant Western Regional Off Track Betting Corporation

(“WROTB”). He attempts to invoke the inapplicable “continuing violation” doctrine to save his

time-barred claims.

       Nolan also makes arguments that contradict his own admissions in the Complaint. For

his First Amendment claim, Nolan argues here that his speech to the FBI and U.S. Attorneys’

Office was not pursuant to his duties as an officer of WROTB. But in his claim for

reimbursement of attorneys’ fees, Nolan admits that the exact same speech was pursuant to his

official duties as an officer of WROTB, which is required to seek reimbursement of those fees.

And while it is clear Nolan was speaking pursuant to his official duties, which bars his First

Amendment claim, Nolan is not entitled to reimbursement of his attorneys’ fees under the Public

Officers law because they were incurred in connection with a criminal, not civil, matter.

       Nolan’s final two causes of action also fail as a matter of law. He fails to plead a claim

for intentional infliction of emotional distress because the conduct alleged is far short of the

extreme and outrageous conduct required to state such a claim. And his Civil Service Law § 75-

(b)(2) claim fails because, according to his own allegations and arguments, he could not have

reasonably believed that WROTB providing health insurance to its Board members violated any

law. The Court should dismiss Nolan’s Complaint in its entirety, with prejudice, pursuant to

Federal Rule of Civil Procedure 12(b)(6).
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                                              ARGUMENT

I.      THE “CONTINUING HARM” DOCTRINE IS INAPPLICABLE
        AND DOES NOT SAVE NOLAN’S UNTIMELY CLAIMS
        Nolan does not dispute that his Notice of Claim is timely for only those claims that

accrued after December 21, 2019. Dkt. 16 at 1-6. Nor does he dispute that he never served a

proper and timely Notice of Claim concerning his termination with respect to the allegations and

claims in his Complaint. Id. Instead, he attempts to rely on the “continuing harm” or

“continuing violation” doctrine to save his untimely claims. Id. But the continuing harm doctrine

does not apply to retaliation claims generally, or to Nolan’s claims, specifically.

        First, the continuing violation doctrine does not apply to Nolan’s First Amendment

retaliation claim. See Dimitracopoulos v. City of New York, 26 F. Supp. 3d 200, 212 (E.D.N.Y.

2014) (“For Federal and State law purposes the ‘continuing violation’ doctrine applies only to

harassment claims. It is inapplicable to plaintiff’s . . . retaliation claims.”); Lozada v. County of

Nassau, 6-CV-6302(JS)(AYS), 2021 WL 1209740, at *7 (E.D.N.Y. Mar. 31, 2021) (continuing

violation doctrine inapplicable to plaintiff’s First Amendment retaliation claim because the

“doctrine . . . is inapplicable to . . . retaliation claims”); Brown v. City of New York, 18-cv-

570(FB)(PK), 2019 WL 5842321, at *1 (E.D.N.Y. Nov. 7, 2019) (same). Indeed, one of the

cases cited by Nolan recognizes this rule. Dkt. 16 at 2 (citing Harris v. Bd. of Educ. of the City

Sch. Dist. of the City of N.Y., 230 F. Supp. 3d 88, 98 (E.D.N.Y. 2017) (“[t]he ‘continuing

violation’ doctrine . . . is inapplicable to . . . retaliation claims”)).

        Second, even if the continuing harm doctrine could apply to retaliation claims (it cannot),




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it still would not apply to Nolan’s claims.1 For the doctrine to apply, a plaintiff must allege at

least some conduct that falls within the statute of limitations. See Harris v. City of New York,

186 F.3d 243, 250 (2d Cir. 1999). Here, all of the alleged retaliatory conduct in Nolan’s

Complaint occurred before the applicable limitations date of December 21, 2019. Compl. ¶¶ 23-

32, 36-40, 59-63. Realizing this fatal issue, Nolan’s opposition claims that his decision to take

leave under the Family Medical Leave Act (“FMLA”) on September 3, 2020 was the “last

adverse, retaliatory act.” Dkt. 16 at 5. Nolan is incorrect. The Complaint does not allege that

Nolan’s FMLA leave was a retaliatory, adverse employment action taken by Defendants.

Compl. ¶¶ 59-63. Indeed, the only time Nolan mentions his FMLA leave in his Complaint he

states his treating physician placed him on medical leave on September 3, 2020—not that

Defendants took any adverse action against him. Id. ¶ 83. To the extent Nolan is arguing that

the effects of the alleged retaliation contributed to his FMLA leave, that would still not save his

time-barred allegations. “The mere fact that the effects of retaliation are continuing does not

make the retaliatory act itself a continuing one.” Gonzalez v. Hasty, 802 F.3d 212, 222 (2d Cir.

2015).

         The only other act he references after December 21, 2019 was his termination. But

Nolan does not dispute that he served no Notice of Claim alleging that his termination was due to

retaliation. Instead, his second Notice of Claim alleges he was terminated because of a

disability. Dkt. 12-9. Consequently, all of the causes of action in Nolan’s Complaint accrued

prior to the applicable limitations date of December 21, 2019 and must be dismissed as time-

barred for failure to timely serve a proper notice of claim. Zoll v. Suffolk Regional Off-Track


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    Nolan’s retaliation allegations form the basis of all of his causes of action, except for his
    claim for reimbursement of attorneys’ fees. Compl. ¶¶ 69, 71-72, 79, 82, 97. Nolan’s
    attorneys’ fees claim is also time-barred. See Point II, infra.


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Betting Corp., 259 A.D.2d 696, 696-97 (2d Dep’t 1999).

II.    NOLAN’S CLAIM FOR ATTORNEYS’ FEES
       IS TIME-BARRED AND INAPPLICABLE
       Nolan’s attorneys’ fees claim is also time barred. He alleges he incurred attorneys’ fees

related to the grand jury subpoena he received from the U.S. Attorneys’ Office and his

interviews with the FBI and requested reimbursement of those fees in and prior to October 2019.

Compl. ¶ 40-41, 91. Nolan’s personal attorneys prepared a motion on his behalf for

reimbursement and indemnification of his attorneys’ fees in October 2019. Dkt. 12-10 at 4.

Thus, Nolan’s attorneys’ fees claim accrued, at the latest, in October 2019—prior to the

December 21, 2019 limitations period.

       Substantively, Nolan does not dispute that New York Public Officers Law Section 18

applies only to civil, not criminal, matters. Pub. Off. L. § 18(3)(a); Zimmer v. Town of

Brookhaven, 247 A.D.2d 109, 113 (2d Dep’t 1998). Rather, he incorrectly contends that there is

nothing in the record to establish that his attorneys’ fees were related to criminal matters. Dkt.

16 at 7-8. Once again, Nolan is incorrect. Nolan received a subpoena to testify before a federal

grand jury. Nolan himself has now put that subpoena in the record before this Court. Dkt. 16-2.

       Federal grand juries must relate to criminal investigations. “Because the grand jury is a

creature of the criminal process, it cannot be used to collect evidence to be used solely for civil

purposes. Grand Jury Law and Practice, § 10:3 (Use of grand jury for civil purposes) (2d ed.).

Further, “[b]ecause the grand jury may not conduct an investigation solely for civil purposes, it is

clear that the government may not start or continue a grand jury inquiry where no criminal

prosecution seems likely.” Id. Accordingly, “most courts have stated that the grand jury must be

used exclusively for criminal purposes, and that the prospect of possible civil remedies must play

no part in the initiation or direction of the grand jury’s investigation.” Id. Therefore, the



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issuance of the federal grand jury subpoena was, as a matter of law, for a criminal matter.

Notably, the cases cited by Nolan are inapposite because they concern state, not federal, grand

juries. Dkt. 16 at 7.

       Nolan is not entitled to reimbursement or indemnification of his personal attorneys’ fees

under Public Officers Law Section 18 as a matter of law.

III.   NOLAN FAILS TO STATE A SECTION 1983 CLAIM
       A.      Nolan’s speech is not constitutionally protected.
       Nolan’s opposition ignores a fundamental flaw—his own allegations confirm that his

speech was pursuant to his official duties as an officer of WROTB, not as a private citizen on a

matter of public concern. The Complaint admits that Nolan’s interviews with investigative

agencies concerning alleged WROTB improprieties were “in the performance of [his] duties and

satisfaction of [his] fiduciary obligations as ranking executive[] and Board member[] of

WROTB.” Compl. ¶ 30. Nolan further admits that “[a]t all times alleged herein, Plaintiff was

acting within the scope of his public employment and duty on behalf of WROTB.” Id. ¶ 89.

       Critically, Nolan seeks reimbursement of the attorneys’ fees he incurred in connection

with what he claims is protected speech. Id. ¶¶ 88-94. But as Nolan himself recognizes, he

could only seek reimbursement of those fees if they were incurred pursuant to his duties as a

WROTB officer. Dkt. 16 at 6-7. Public Officers Law Section 18 only applies if “the employee

was acting within the scope of his public employment or duties.” Pub. Off. L. § 18(3)(a). By

asserting such a claim, Nolan has admitted his speech was not protected; he cannot argue, in the

next breath, that his speech was unrelated to his duties as an officer of WROTB in order to seek

reimbursement from WROTB for legal fees incurred in connection with that speech. His

admissions in his own pleading are fatal to his Section 1983 claim.




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       Further, Nolan entirely ignores Ross v. Breslin, 693 F.3d 300 (2d Cir. 2012), which is

directly on point. There, the Second Circuit found that the plaintiff’s reports to the

superintendent, her statements to an outside consultant/investigator, and her letter to Board

members concerning alleged financial improprieties that she discovered in the ordinary course of

performing her work were made pursuant to her job duties and not protected by the First

Amendment. Ross, 693 F.3d at 304-08. The same result is required here.

       B.      There is no causal connection between Nolan’s speech
               and any non-time-barred alleged adverse employment action.
       The only non-time-barred adverse employment action alleged by Nolan is his termination

on December 18, 2020. That occurred well over a year after Nolan alleges he engaged in

protected speech between February and October 2019. Compl. ¶¶ 23-32, 36, 40. Courts in this

Circuit routinely hold that there is no causal connection or inference of retaliation between

protected speech and an adverse employment action that occurs over a year after the speech.

See, e.g., Chang v. Safe Horizons, 254 Fed. Appx. 838, 839 (2d Cir. 2007) (the plaintiff’s

termination “occurred almost one year after her complaint for discrimination, thus undermining

any causal nexus based on temporal proximity”); Burkybile v. Bd. of Educ. of Hastings-On-

Hudson Union Free Sch. Dist., 411 F.3d 306, 314 (2d Cir. 2005) (finding no causal connection

when “more than a year passed” between the protected speech and the adverse action). And

contrary to Nolan’s contention (Dkt. 16 at 13), this issue can be decided on a motion to dismiss.

See Brown, 2019 WL 5842321, at *2 (dismissing the plaintiff’s First Amendment retaliation

claim for lack of a causal connection on a Rule 12(b)(6) motion to dismiss). Moreover, Nolan’s

second Notice of Claim states that he was terminated because of a disability.

       C.      Nolan insufficiently pleads an official policy or custom of WROTB.
       Nolan’s opposition merely parrots back the single, conclusory allegation in his Complaint

that the alleged retaliatory actions of Bianchi and Wojtaszek were in response to an official


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custom or policy of WROTB. Dkt. 16 at 14 (citing Compl. ¶ 71). As set forth in Defendants’

Memorandum of Law (Dkt. 12-11 at 15-16), Nolan must plead an official custom or policy “with

particularity and proof.” Estes-El v. State Dep’t of Motor Vehicles Office of Admin. Adjudication

Traffic Violation Bureau, No. 95 Civ. 3454 (JFK), 1997 WL 342481, at *4 (S.D.N.Y. 1997).

Threadbare, conclusory allegations of a custom or policy, such as Nolan’s here, are insufficient

as a matter of law. See Montero v. City of Yonkers, New York, 890 F.3d 386, 403-04 (2d Cir.

2018); Ortega v. N.Y.C. Off-Track Betting Corp., No. 97 Civ. 7582(KMW), 1999 WL 342353, at

*6 (S.D.N.Y. May 27, 1999); Estes-El, 1997 WL 342481, at *4.

IV.    NOLAN’S CONSTITUTIONAL CLAIM AGAINST
       BIANCHI AND WOJTASZEK INDIVIDUALLY ALSO FAILS
       A.      Nolan does not state an individual constitutional claim.
       Nolan’s failure to state a Section 1983 claim against WROTB requires dismissal of his

Section 1983 claim against Bianchi and Wojtaszek individually. See Guity v. Uniondale Union

Free Sch. Dist., No. 15-cv-5693-SJF-AKT, 2017 WL 9485647, at *31 (E.D.N.Y. Feb. 23, 2017).

       In any event, Nolan’s termination from WROTB cannot establish a constitutional claim

against Bianchi or Wojtaszek individually. Bianchi and Wojtaszek were not “personally

involved” in the non-time-barred alleged deprivation (i.e., his termination). Williams v. N.Y.C.

Dep’t of Correction, No. 19-CV-5200 (RA), 2020 WL 509180, at *8 n.8 (S.D.N.Y. Jan. 30,

2020). Nolan does not dispute that Wojtaszek is not a member of the WROTB Board member

and did not cast a vote to terminate Nolan’s employment. Dkt. 12-7. Wojtasek’s position as

President and CEO of WROTB is not a basis for constitutional liability. Brown, 2019 WL

5842321, at *3 (“the plaintiff cannot rely on [defendant’s] high position as a basis for his

individual liability”) (citing Black v. Coughlin, 76 F.3d 72, 74 (2d Cir. 1996) (“[A] defendant in

a § 1983 action may not be held liable for damages for constitutional violations merely because

he held a high position of authority.”). Further, Bianchi was one of 14 board members who


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voted unanimously to terminate Nolan’s employment. He did not act alone, and he neither made

the motion to terminate Nolan’s employment nor seconded that motion. Dkt. 12-7. Notably,

Nolan did not name any other Board members as defendants.

       B.      Qualified immunity shields Bianchi and Wojtaszek from liability.
       Nolan’s failure to allege a violation of his constitutional rights means that Bianchi’s and

Wojtaszek’s individual alleged conduct did not violate any clearly established constitutional

right. Thus, they are entitled to qualified immunity. Montero, 890 F.3d at 402 (granting

individual defendants’ motion to dismiss under Rule 12(b)(6) on qualified immunity grounds);

Ross, 693 F.3d at 304-05 (finding individual defendant entitled to qualified immunity because

plaintiff “was speaking pursuant to her official duties and not as a private citizen, her speech was

not protected by the First Amendment” and thus her constitutional “right was not clearly

established at the time of the incident”); see also Zabar v. N.Y.C. Dep’t of Educ., 18 Civ. 6657

(PGG), 2020 WL 2423450, at *8-9 (S.D.N.Y. May 12, 2020).

V.     NOLAN FAILS TO PLEAD A CLAIM FOR
       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       Nolan’s opposition asks the Court not to decide the issue of whether the conduct alleged

in his Complaint satisfies the rigorous, difficult standard to establish extreme and outrageous

conduct required to state a claim of intentional infliction of emotional distress (“IIED”). Dkt. 16

at 18-21. First, Nolan incorrectly asserts that the issue of whether the conduct alleged is extreme

and outrageous is a question of fact reserved for the jury. Courts routinely dismiss IIED claims

for failure to meet the high pleading burden for that claim. See Lewis Family Group Fund LP v.

JS Barkats PLLC, 16-CV-5255(AJN)(JLC), 2021 WL 1203383, at *12 (S.D.N.Y. Mar. 31, 2021)

(“Given the ‘rigorous’ requirements, courts often dismiss [IIED] claims under the ‘extreme and

outrageous conduct’ prong as a matter of law.”); Reid v. Sack, No. 20-CV-1817(VM), 2021 WL

100490, at *5 (S.D.N.Y. Jan. 12, 2021) (same); see also Peterson v. N.Y.C. Dep’t of Educ., No.


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18-CV-1515 (ILG), 2020 WL 2559835, at *9 (E.D.N.Y. May 20, 2020) (rejecting plaintiff’s

request that her IIED claim be deferred for factual development as that would be incompatible

with Rule 12(b)(6)).

       Second, Nolan does not cite a single case where a court found that conduct similar to that

alleged in his Complaint satisfied the extreme and outrageous prong of an IIED claim and

survived a motion to dismiss. Dkt. 16 at 18-21. One of the cases Nolan does cite, however,

notes that “[a] wide range of conduct—though offensive or even otherwise illegal—is not

considered ‘utterly intolerable in a civilized society’ to permit a party to maintain a cause of

action for intentional infliction of emotional distress,” including conduct far worse than that

alleged by Nolan. See Neufeld v. Neufeld, 910 F. Supp. 977, 984 (S.D.N.Y. 1996) (collecting

cases in which conduct including firing an employee in a humiliating manner, racial

discrimination, and sexual harassment was insufficient to satisfy the extreme and outrageous

element as a matter of law) (cited by Nolan at Dkt. 16 at 2, 6).

       The Complaint alleges that Bianchi and Wojtaszek excluded Nolan from contact and

meetings; gave him the “silent treatment”; re-assigned his job duties; provided a poor

performance rating; placed him on a Personal Improvement Plan; removed him as a recipient

from certain emails; and required him to work weekends. Compl. ¶¶ 59-63. These are not

“cherry pick[ed]” allegations, as Nolan contends. Dkt. 16 at 20. They are the allegations upon

which Nolan bases his IIED claim. Compl. ¶¶ 59-63, 82. This alleged conduct is not close to the

“extreme and outrageous” conduct Nolan must plead to state a claim for IIED.

VI.    NOLAN’S CIVIL SERVICE LAW § 75-(b)(2)
       CLAIM SHOULD BE DISMISSED
       In a futile attempt to save his Civil Service Law § 75-(b)(2)(a)(ii) claim, Nolan contends

he reasonably believed WROTB’s provision of health insurance to its Board members violated



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the law. Dkt. 16 at 21-23. Nolan refers to a legal memorandum he received from the law firm

Barclay Damon (the “Barclay Damon Memo”). Id. According to Nolan, however, the Barclay

Damon Memo recommended that WROTB stop providing health insurance to Board members

because it was not expressly authorized by statute. Id. at 22. Nolan does not even claim that the

Barclay Damon Memo stated that providing health insurance to board members violated the law.

Id. Not being expressly authorized by a statute is not the same as being expressly prohibited by

statute or violating the law. Nolan also ignores the fact that his Complaint does not identify any

federal, state or local law, rule, or regulation that he alleges WROTB violated by providing

health insurance to Board members.

       There is also no causal connection between the disclosure of the Board members’ health

insurance and Nolan’s termination. He alleges he disclosed the Board members’ health

insurance to WROTB in February and March 2019, and was interviewed by investigative

agencies thereafter. Compl. ¶¶ 23-32, 36, 45. Nolan’s employment was not terminated until

December 18, 2020—well over a year and a half later. Compl. ¶ 16; Dkt. 12-8. Thus, Nolan’s

disclosures are “too remote in time to infer a causal relationship” between the disclosures and his

termination. Peterson, 2020 WL 2559835, at *9.

                                         CONCLUSION
       For the reasons set forth above, and in Defendants’ opening Memorandum of Law, this

Court should grant Defendants’ motion and dismiss Plaintiff’s Complaint with prejudice.




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Dated: February 11, 2022
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